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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
KAI S. WELLS,
                                                                                            10/26/2021
                          Plaintiff,

vs.                                                                    Civil Action No.:
                                                                       1:20-CV-10332-JPO-KHP

COMMISSIONER OF SOCIAL SECURITY,

                           Defendant.
------------------------------------------------------------X

 PLAINTIFF’S UNOPPOSED MOTION FOR AN ENLARGEMENT OF TIME TO FILE
         PLAINTIFF’S MOTION FOR JUDGMENT ON THE PLEADINGS

        PLEASE TAKE NOTICE that upon all the prior proceedings heretofore filed, Plaintiff

moves this Court, on submission, for an Order granting an enlargement of time of thirty (30)

days to file Plaintiff’s motion for judgment on the pleadings and memorandum of law in support

in this matter, which is currently due on November 8, 2021. This is Plaintiff’s first request for an

extension and is necessary due to an unexpected increase in counsel’s case load and briefs due in

a short period of time from cases that were previously delayed from timely processing during the

beginning of the COVID-19 pandemic.

        Plaintiff has contacted counsel for Defendant who kindly consents to this motion.

Dated: October 25, 2021                                         Respectfully submitted,

                                                     By:        /s/ Charles E. Binder
                                                                Law Office of Charles E. Binder
                                                                and Harry J. Binder, LLP
                                                                485 Madison Avenue, Suite 501
                                                                New York, NY 10022
                                                                (212)-677-6801
                                                                Fax (646)-273-2196
                                                                fedcourt@binderlawfirm.com
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
KAI S. WELLS,

                          Plaintiff,

vs.                                                                   Civil Action No.:
                                                                      1:20-CV-10332-JPO-KHP

COMMISSIONER OF SOCIAL SECURITY,

                           Defendant.
------------------------------------------------------------X

                                                    ORDER

        AND, NOW, this _____day of __________________, 2021, upon consideration of

Plaintiff’s Motion for an extension of time to file his motion for judgment on the pleadings,

        IT IS HEREBY ORDERED that Plaintiff’s Motion is GRANTED. Plaintiff’s motion is

due December 8, 2021. All subsequent deadlines are also extended by thirty (30) days.



Entered: ______________                                         _____________________________




       With respect to Plaintiff's letter motion for an extension of time, the Court
       hereby schedules a brief telephone conference for Tuesday, November 2nd at
       11:15 a.m. Counsel for the parties are directed to call Judge Parker's AT&T
       conference line at the scheduled time. Please dial (866) 434-5269; access code:
       4858267.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 25th day of October, 2021, I electronically filed the foregoing

with the Clerk of Court using the CM/ECMF system which will send notification of such filing

to all registered CM/ECMF case participants.


                                                                     /s/ Charles E. Binder
                                                                     Attorney for Plaintiff
